      Case 3:16-cr-00649-LAB      Document 37       Filed 04/26/16   PageID.61         Page 1 of 1

                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                         Case No. 16CR0649-LAB

                                       Plaintiff,
                      vs.
                                                         JUDGMENT OF DISNlISSAL
ELIZABETH ZAVALA (2)

                                                                                     FILED
                                     Defendant.
                                                                              C L E ;,,, ,_:: :: ::,.   :: -   ,    ,:;7

IT APPEARING that the defendant is now entitled to be discharged fo ~~1~a~;b-;;;ili~':                             ~~;~+~

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

L     the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

L     of the offense(s) as charged in the Information:

      8: 1324(a)( 1)(A)(ii), (Y)(II), (a)( 1)(B)i) - Transportation of Certain Aliens for Financial
      Gain and Aidiui and AbeetiUi

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

Dated: 412112016

                                                    HOILavidH:BartiCk
                                                    United States Magistrate Judge
